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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


  UNITED STATES OF AMERICA                            §
                                                      §
                                                      § CASE NUMBER 6:01-CR-00032-JDK-JDL
  v.                                                  §
                                                      §
                                                      §
  OCTAVIA JEROME THOMAS                               §
                                                      §


               ORDER ADOPTING REPORT AND RECOMMENDATION OF
                      UNITED STATES MAGISTRATE JUDGE

         The above entitled and numbered criminal action was referred to United States

  Magistrate Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of Magistrate

  Judge John D. Love, which contains his proposed findings of fact and recommendations for

  the disposition of such action, has been presented for consideration. The parties have waived

  their objections to the Report and Recommendation.

         The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

  correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as

  the findings and conclusions of this Court and ORDERS that Defendant Octavia Jerome Thomas

  be sentenced to time served with no supervised release to follow.

          So ORDERED and SIGNED this 22nd day of September, 2020.



                                                   ___________________________________
                                                   JEREMY D. KERNODLE
                                                   UNITED STATES DISTRICT JUDGE




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